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Case 1:23-cv-00296-RGA                             5G+ 2 of 27 PageID #: 41


                 PerfPowerServicesSignpostRea ● ● ●
        Powerstats for: PerfPowerServicesSignpostReader
        (PerfPowerServicesSiqnpostReader) f21831
        UUID:          0
        Path:         /S|
        XPCServices/Pi
        PerfPowerServi
        Identifier:    Cl
        Version:        1j
        Resource Coalit^
        Architecture:
        Parent:        U         ITT
        UID:          0
        Sudden Term:       Tracked (allows idle exit)
        Footprint:      10.28 MB
        Pageins:        242 pages
        Start time:      2022-12-04 13:36:58.795 -0500
        End time:        2022-12-04 13:38:56.314 -0500
        Num samples: 32(62%)
        Primary state; 32 samples Non-Frontmost App, Non-Suppressed, User
        mode, Effective Thread QoS Background, Requested Thread QoS User
        Initiated, Override Thread QoS Unspecified
        User Activity: 32 samples Idle, 0 samples Active
        Power Source: 0 samples on Battery, 32 samples on AC
         32 ??? (Iibsystem_pthread.dyllb + 2968)[0x221497598]
           32 ??? (libsystem.pthread.dylib + 3576)[0x221497df8]
            32 ??? (Iibdispatch.dylib +93712)[0x1dba20e10]
             32 ??? (Iibdlspatch.dylib + 49632)[0x1dba161e0]
               32 ??? (libdispatch.dylib + 46740)[0x1dba15694]
                32 ??? (libdispatch.dylib + 16348)[OxIdbaOdfdc]
                 32 ??? (libdispatch.dylib + 9396)[0x1dba0c4b4]
                   32 ??? (LoggingSupport + 181664)[OxledllfSaO]
                    32 ??? (LoggingSupport + 24996)[0x1ed0f91a4]
                      32 ??? (LoggingSupport + 25940)[0x1ed0f9554]
                       31 ??? (LoggingSupport + 15704)[0x1ed0f6d58]
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Case 1:23-cv-00296-RGA                                5G+ 3^of 27 PageID #: 42


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         cesSignpoJ^^^H
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         B389-489E^^H
         Date/Time:

         OS Version:
         Architecture^^BH                                                           n
         Report Version: 40
         Incident Identifier: A897418F-B952-4DB4-B389-489E57D28781

         Data Source:   Microstackshots
         Shared Cache: EFCEA2C3-9890-343A-8DFA-DDD6C9892143 slid base
         address 0x1cd69c000, slide 0x4d69c000

         Command:         PerfPowerServicesSignpostReader
         Path:        /System/Library/PrivateFrameworks/PowerlogCore.framework/
         XPCServices/PerfPowerServicesSIgnpostReader.xpc/
         PerfPowerServicesSignpostReader
         Identifier:   com.apple.PerfPowerServicesSignpostReader
         Version:      1.0 (1)
         Resource Coalition ID: 861
         Architecture: arm64e
         Parent:       UNKNOWN [1]
         PID:        2183

         Event:        cpu usage
         Action taken: none
         CPU:          90 seconds cpu time over 118 seconds (76% cpu average)
         exceeding limit of 50% cpu over 180 seconds
         CPU limit:     90s
         Limit duration: 180s
         CPU used:       90s
         CPU duration: 118s
         Duration:      118.00s
         Duration Sampled: 117.52s
         Steps:        52

         Hardware model: iPhone14,3
         Active cpus: 6
         HW page size: 16384
         VM page size: 16384

         Advisory levels: Battery -> 3, User -> 3, ThermalPressure -> 0, Combined
         -> 3
         Free disk space: 78.26 GB/119.09 GB, low space threshold 150 MB
         Vnodes Available: 28.06% (3367/12000)

         Preferred User Language; en-US
         Country Code: US
         Keyboards:      en_US QWERTY, emoji Emoji
         OS Cryptex File Extents: 192

         Heaviest stack for the target process:
          32 ??? (Iibsystem_pthread.dylib + 2968)[0x221497b98]
          32 ??? (Iibsystem_pth                         I7df8]
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Case 1:23-cv-00296-RGA                                 5G 4 of 27 PageID #: 43


                    signpost_reporter.cpu_resourc ● ● ●
         Powerstats for: DASDelegateService (DASDelegateService)



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            43 ??? (Iibsystem_pthread.dylib + 3576) [0x221497df8]
             43 ??? (libdispatch.dylib + 93712) [0x1dba20e10]
              43 ??? (libdispatch.dylib + 49632) [0x1dba161e0]
               43 ??? (libdispatch.dylib+ 46740) [0x1dba15694]
                43 ??? (libdispatch.dylib + 16348) [OxIdbaOdfdc]
                 43 ??? (libdispatch.dylib + 9396) [Ox1dbaOc4b4]
                  43 ??? (LoggingSupport +181664) [OxledllfSaO]
                    43 ??? (LoggingSupport + 24996) [0x1ed0f91a4]
                      43 ??? (LoggingSupport + 25940) [0x1ed0f9554]
                       41 ??? (LoggingSupport+ 15704) [0x1ed0f6d58]
                        41 ??? (LoggingSupport + 20864) [0x1ed0f8180]
                         41 ??? (LoggingSupport+ 42832) [0x1ed0fd750]
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                            40 ??? (Foundation + 19604) [0x1ce818c94]
                              40 ??? (Foundation + 16212) [0x1ce817f54]
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                                        13 ??? (Foundation + 17216) [0x1ce818340]
                                         6 ??? (Foundation + 6152628)
         [0x1cedf21b4]
                                          5 ??? (CoreFoundation + 108468)
         [0x1d444e7b4]
                                           5 ??? (Iibsystem_c.dylib + 29960)
         [0x1dba58508]
                                            3 ??? (CoreFoundation + 37496)
         [0x1d443d278]
                                             1 ??? (CoreFoundation + 606464)
         [0x1d44c8100]
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         [0x1d443b0e0]
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         [0x1cd755c28]
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Case 1:23-cv-00296-RGA                                5G+ #5 of'27 PageID #: 44


                  PerfPowerServicesSignpostRea ● # ●
         Advisory levels: Battery -> 3, User -> 3, ThermalPressure -> 0, Combined
         -> 3
         Free disk space: 78.26 GB/119.09 GB, low space threshold 150 MB
         Vnodes Available: 28.06% (3367/12000)

         Preferred User Language: en-US .
         Country Code: US
         Keyboards:      en_US QWERTY, emoji Emoji
         OS Cryptex File Extents: 192
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         Heaviest stack for the target process:                                      \JJ
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         UUID:         0,
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 E                      Errors and Faults     ip addresses on mac     6.0      SANDBOX      PRIVATE        macbook stream   tcp   Blocked   CARDDAV   OOB REQUEST   XPROTECT   URL   443    BOSS      Menlor/Sr»ippet/Scfub      »

 Devices                       Type      Time                     Process       Message
                                            19:57:13.821770       kernel        Sandbox: 2 duplicate reports for rapportd deny(l) mach-lookup com.apple.network.EAPOLController
 PRIPTPLBABAAEL
                                            19:57:13.821810       kernel        syscall_extertsion_issue failed: 1
 Reports                                    19:57:13.830692       kernel        syscall_extension_issue failed: 2
        Mac Analytics...                    19:57:13.830887        kernel       syscall_extension_issue failed: 1

► Q System Reports                          19:57:13.840095       CommCe-       #I On WiFi: true On Cellular: false
                                            19:57:13.840201       CominCe..,    ffl Internet availability is changing from kUnavailable to kAvailable
  B User Reports
                                            19:57:13.840265       CommCe.. #I WiFi Availability is changing from kUnavailable to kAvailable
        system.log
                                            19:57:13.840272        CommCe.. #I Wi-Fi availability is changing from kUnavailable to kAvailable
► B -/Library/Logs                          19:57:13.840480        CommCe,.. Pid: <private> is NOT VALID. Cannot get value from carrier bundle for key E9110verITechSupported

► B /Library/Logs                           19:57:13.840485       CommCe-/ #I WiFi MAC address property not supported on this platform
                                            19:57:13.840643        CommCe... Pid: <private> is NOT VALID. Cannot get value from carrier bundle for key E9110verITechSupported
► B /var/log
                                            19:57:13.040787        CommCe... #I isEmergencyWiFiAllowed is false
                                            19:57:13.840879        CommCe... Pid: <private> is NOT VALID. Cannot get value from carrier bundle for key E9110verITechNoLimit
                                            19:57:13.841013         CommCe,.    Pid: <private> is NOT VALID. Cannot get value from carrier bundle for key E9110verITechSupported
                                            19:57:13.841090         CommCe.. Pid: <private> is NOT VALID. Cannot get value from carrier bundle for key E9110verITechSupported
                                            19:57:13.841134         CommCe... #I isEmergencyWiFiAllowed is false
                                            19:57:13.841214         CommCe.. Pid: <private> is NOT VALID. Cannot get value from carrier bundle for key E9110verITechNoLimit
                                            19:57:13.841547         CommCe...    HI No active calls going on. Returning.
                                            19:57:13.845862         callse...    Received kCTCallManagementStateChangeNotification with userinfo <private>
                                            10'<;7.17 fl/.7inn      corn                  L 9»ra11 ah1 o                                                                             Received
                                                                                                                                                                                     kCTCallManagementStateChangeNotification
                                                                                                                                                                                     with userinfo <private>
                                  apsd (CFNetwork)
                                  Subsystem; -- Category: -
                                                                                                                                                                                                          2019-05-1619:57:13.789369
                                  Activity ID: 0 Thread ID: 0xa46 PID; 299



                                      Stream client bypassing proxies on TCP Conn [S:0x7fbbbbc0adS0]




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